                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION

In re:     Torrence Vaughan                           ) Case Number 18-14100
                                                      ) Chapter 13 Proceedings
               Debtor(s)                              ) Judge Jessica E. Price Smith


                  CHAPTER 13 TRUSTEE’S OBJECTION TO CONFIRMATION

    Now comes LAUREN A. HELBLING, the duly appointed and qualified Standing Chapter 13 Trustee
(the "Trustee") herein, and objects to the confirmation of the proposed Chapter 13 Plan and hereby
represents the following:

    1. The Debtor(s) filed for bankruptcy relief on July 10, 2018.

    2. The 341(a) Meeting of Creditors held on September 25, 2018 was concluded and the
       confirmation hearing is scheduled for November 8, 2018 at 9:30 AM.

    3. The Trustee objects to confirmation of the proposed plan on the following grounds:

        WAGE ORDER: There is no wage order in place, as mandated by Administrative Order 17-3, or
         the wage order in place is deficient. Specifically, .

        RECENT TAX RETURN: The Debtor has failed to supply the Trustee with a copy of the federal
         income tax return required under applicable law for the most recent tax year ending immediately
         before the commencement of the case and for which a federal income tax return was filed
         [§521(e)(2) and §1325(a)(1) of the Bankruptcy Code].

        FEASIBILITY: The plan is not feasible in that it exceeds sixty months [§1322(d)]. To complete
         the plan as currently offered within a sixty month period would require a monthly payment of
               .

        CONDUIT: The Debtor has not provided for the payment of ongoing mortgage payments through
         the plan, or the Debtor has not filed a motion to opt out of the conduit mortgage system mandated
         by Administrative Order 17-4.

        PLAN: The Debtor has not used the form plan mandated by Bankruptcy Rule 3015(c).
         Specifically, .

        PROSECUTION: Without the following information and/or documents the Trustee cannot
         properly administer the case of the Debtor [§521 (a)(3)]:
          Recent pay advices for the Debtor. Specifically,          .
          Recent pay advices for the non-filing spouse.
          Recent federal income tax return for the non-filing spouse.
          Evidence of income from            .
          Affidavit from          for his/her/their contribution of   /month.
          Business information for each business owned by the Debtor:
              Completed business questionnaire with supporting financial information.
              Two years recent federal income tax returns.
              Balance Sheet as of the date of the bankruptcy filing.

18-14100-jps        Doc 24     FILED 09/26/18        ENTERED 09/26/18 15:02:58              Page 1 of 4
              Income and Expense Statement for the twelve-month period prior to the date of the
               bankruptcy filing.
           Projected month-to-month Cash Flow Statement for the twelve-month period following
               the date of the bankruptcy filing.
           A statement for each property and business showing gross receipts, ordinary and
               necessary business expenses, and the total monthly net income, as required by Schedule I,
               line 8a.
           Other:           .
           Other:           .
         Payment advices and/or other documentation of all income received during the six month
          period prior to the month the bankruptcy petition was filed.
         Evidence of payment of all domestic support obligations that have become payable under said
          obligation since the date of filing of the petition [§1325(a)(8)].
         Depository and/or investment account statements for the month the bankruptcy petition was
          filed and the preceding 12 months.
         Other: Recent photos of the 1967 Ford Mustang.
         Other: Amend Schedules E/F to include all creditors Debtor testified at the First Meeting of
          Creditors he still owes.
         Other:         .
         Other:         .

     OMITTED CLAIM(S): The plan fails to provide for claims that should or must be specifically
      referenced in the plan [§1322(b)(5), and/or §1325(a)(5)]. Specifically, Capital One is scheduled
      with a secured claim of $1,320.00.

     DOMESTIC SUPPORT OBLIGATION(S): The Trustee has reason to believe the Debtor has a
      domestic support obligation but the Debtor has not supplied the Trustee with the information
      which would allow the Trustee to perform the Trustee's duties mandated by §1302(d).

     FIXED PAYMENT(S): The plan either does not provide for monthly payments to creditors in
      Paragraphs 3.1, 3.2, 3.3, 3.4, 5.2, and/or 5.3, or the fixed payments provided are so large that
      they cannot be met under the proposed monthly plan payment, while at the same time providing
      for administrative costs [§1325 (a)(5)].

     APPLICABLE COMMITMENT PERIOD: The Debtor has designated the incorrect applicable
      commitment period on Form 122C-1.

     DISPOSABLE INCOME: The Trustee either does not believe or cannot determine if the Debtor
      is devoting all projected disposable income for the applicable commitment period to unsecured
      creditors [§1325(b)(1)(B)]. Specifically,      .
      The Trustee will not recommend confirmation of the plan unless the amount paid to unsecured
      creditors is increased to      or       % of unsecured claims, whichever is greater, and the plan
      payment increased to        .

     LIQUIDATION: The Trustee believes the plan does not provide unsecured creditors with an
      amount equal to or greater than they would receive in a Chapter 7 liquidation proceeding [§1325
      (a)(4)]. Specifically,     .
      The Trustee will not recommend confirmation of the plan unless the amount paid to unsecured
      creditors is increased to      or      % of unsecured claims, whichever is greater, and the plan
      payment increased to        .



18-14100-jps     Doc 24     FILED 09/26/18        ENTERED 09/26/18 15:02:58              Page 2 of 4
       GOOD FAITH: The Trustee believes the Debtor has not offered the plan in good faith
        [§1325(a)(3)]. Specifically,      .
        The Trustee will not recommend confirmation of the plan unless the amount paid to unsecured
        creditors is increased to      or    % of unsecured claims, whichever is greater, and the plan
        payment increased to         .

       NOTICING: The Debtor has failed to file a certificate of service evidencing that creditors have
        been properly served with the:
         Chapter 13 plan.
         Notice of Chapter 13 Bankruptcy Case, Meeting of Creditors and Deadlines.

       PLAN PROVISIONS: The Trustee disagrees with the treatment of plan paragraphs Part 3.1 and
        3.2 for the following reasons: Lorain County real property tax claims are not contractual
        installment claims and thus cannot be provided for in Part 3.1. The State of Ohio tax lien is a
        governmental claim and should be provided for in Part 3.2.

       OTHER:           .

       OTHER:       .

       OTHER:               .

       OTHER:               .


   4. This is an ongoing objection and is intended to be an objection to any subsequent plan filed by the
Debtor(s).

    5. The Trustee reserves the right to amend and/or supplement this objection should additional
information be provided.

    WHEREFORE, the Trustee prays this Court deny confirmation of the proposed plan for the foregoing
reasons and requests the case be dismissed.

                                                  /S/ Lauren A. Helbling
                                                  LAUREN A. HELBLING (#0038934)
                                                  Chapter 13 Trustee
                                                  200 Public Square, Suite 3860
                                                  Cleveland OH 44114-2321
                                                  Phone (216) 621-4268        Fax (216) 621-4806
                                                  Ch13trustee@ch13cleve.com




18-14100-jps       Doc 24        FILED 09/26/18     ENTERED 09/26/18 15:02:58             Page 3 of 4
                                    CERTIFICATE OF SERVICE

I certify that on September 26, 2018, copies of this Trustee’s Objection to Confirmation were served:

Via the Court’s Electronic Case Filing System on these entities and individuals who are listed on the
Court’s Electronic Mail Notice List:

        R. J. Budway, Attorney, on behalf of Debtor at
            attyrjb1@hotmail.com

And by regular U.S. mail, postage prepaid, on:

        Torrance Vaughan, Debtor at 433 West 10th Street, Elyria, OH 44035



                                                  /S/ Lauren A. Helbling
                                                  LAUREN A. HELBLING (#0038934)
                                                  Chapter 13 Trustee
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18-14100-jps       Doc 24      FILED 09/26/18        ENTERED 09/26/18 15:02:58             Page 4 of 4
